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 6

 7
                             UNITED STATES DISTRICT COURT
 8

 9
                    FOR THE EASTERN DISTRICT OF CALIFORNIA

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11                                                  ) Case No.: 2:11-CR-00211-02
     UNITED STATES OF AMERICA                       )
12                                                  ) ORDER TO EXONERATE
                                                    )
13                                                  ) PROPERTY BOND AS TO
                    Plaintiff,                      ) DEFENDANT MANSORE RAHIMI
14                                                  )
            vs.                                     )
15                                                  )
     MANSORE RAHIMI                                 )
16                                                  )
                                                    )
17                                                  )
                    Defendant.                      )
18                                                  )
                                                    )
19                                                  )
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            Defendant, Mansore Rahimi, pled guilty to count one of the Indictment and was
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     subsequently sentenced to a term of imprisonment for 35 months. Defendant started serving his
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     sentence on May 10, 2013, and is currently in the Federal Corrections Institute in Sheridan,
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     Oregon. Presently before the Court is Defendant’s Motion to Exonerate Bond. (ECF No. 56.)
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     ///


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                     ORDER TO EXONERATE PROPERTY BOND AS TO DEFENDANT MANSORE RAHIMI
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 1            The case having been fully adjudicated and the sentence having been executed, the Court

 2   finds that the secured property bond as to Defendant, Mansore Rahimi, should be exonerated.

 3   Accordingly, it is hereby ORDERED that the Clerk of the Court shall return all property and/or

 4   papers relating to the collateral bail including mortgage deeds, notes, tax receipts and other

 5   documents filed with the Court to secure the release of the Defendant, to the Recipient listed

 6   below:

 7            •       Himat and Saroj Dagli, 3027 Mountain Drive, Fremont, CA 94555.

 8            The parties are responsible for extinguishing any liens which may have been registered

 9   against the collateral bail documents and/or property.

10            IT IS SO ORDERED.

11   Dated: August 2, 2013

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                       ORDER TO EXONERATE PROPERTY BOND AS TO DEFENDANT MANSORE RAHIMI
